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                                                                                                  United States Bankruptcy Court
                                                                                                      Southern District of Texas

                                                                                                          ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                           April 22, 2025
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                         Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

                                                                    )
    In re:                                                          )   Chapter 11
                                                                    )
    ASCEND PERFORMANCE MATERIALS                                    )   Case No. 25-90127 (CML)
    HOLDINGS INC., et al., 1                                        )
                                                                    )
                             Debtors.                               )   (Jointly Administered )
                                                                    )


                     ORDER (I) EXTENDING TIME TO FILE
             (A) SCHEDULES AND STATEMENTS AND (B) RULE 2015.3
          FINANCIAL REPORTS, (II) MODIFYING THE REQUIREMENTS OF
      BANKRUPTCY LOCAL RULE 2015-3, AND (III) GRANTING RELATED RELIEF

             Upon the emergency motion (the “Motion”) 2 of the above-captioned debtors and debtors

in possession (collectively, the “Debtors”) for entry of an order (this “Order”), (a) extending the

deadline to file their (i) Schedules and Statements and (ii) 2015.3 Reports, (b) modifying the

requirements of Bankruptcy Local Rule 2015-3, and (c) granting related relief, all as more fully

set forth in the Motion; and upon the First Day Declaration; and this Court having jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Order of Reference to Bankruptcy

Judges, from the United States District Court for the Southern District of Texas, entered

May 24, 2012; and this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b); and this Court having found that it may enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this



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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/Ascend. The location of Debtor Ascend
      Performance Materials Holdings Inc.’s principal place of business is 1010 Travis St., Suite 900, Houston,
      Texas 77002.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate under the

circumstances and no other notice need be provided; and this Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

in the Motion and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

        1.      The time within which the Debtors must file the Schedules and Statements is

extended through and including June 20, 2025, without prejudice to the Debtors’ right to seek

additional extensions. The Debtors may obtain further extensions to file their Schedules and

Statements by agreement with the U.S. Trustee (with a note of such extension filed on the docket)

without the need for further order from this Court.

        2.      The time within which the Debtors must file the 2015.3 Reports is extended through

and including June 20, 2025, without prejudice to the Debtors’ right to seek further extensions

upon a showing of cause. The Debtors may obtain further extensions to file their 2015.3 Reports

by agreement with the U.S. Trustee (with a note of such extension filed on the docket) without the

need for further order from this Court.

        3.      The Debtors’ obligation to file the 2015.3 Reports every month in compliance with

Bankruptcy Local Rule 2015-3 is hereby modified to permit the Debtors to file the 2015.3 Reports

every six (6) months.



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       4.      All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       5.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion, and the requirements of the Bankruptcy Rules, the Bankruptcy Local Rules, and

the Complex Case Procedures are satisfied by such notice.

       6.      Notwithstanding any Bankruptcy Rule to the contrary, the terms and conditions of

this Order are immediately effective and enforceable upon its entry.

       7.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order.

       8.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Houston, Texas
 Dated:
            August
            April 22, 02,
                      20252019
                                                     HONORABLE CHRISTOPHER M. LOPEZ
                                                     UNITED STATES BANKRUPTCY JUDGE




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